                                 CONTINGENCY FEE CONTRACT

              THIS AGREEMENT, made and entered into this          _JJ_   day of October, 2003, by
       and between the undersi gn ed, hereinafter called "Clients", and RAYMOND C. GIVENS,
       Attorney at Law of the Givens Law Firm hereinafter called "Attorney."

              WITNESS ETH:

              \VHEREAS, Clients are the present Lessors, being the successors of Andrew
       Oenga, under that certain Lease Agreement originally made effective January 1, 1989, (as
       amended) concerning property in Alaska Native Allotment F-14632.

              WHEREAS, Clients desire the Attorney to represent Clients' interest m
       prosecuting Clients' claims and causes of action arising out of said Lease Agreement:

               NOW, THEREFORE, it is mutually agreed and understood as follows:

                 1.     Attorney shall represent Clients in said matter and do all things necessary,
         appropriate, or advisable, in regard thereto, whether th� same be by representation in
         legal proceedings or otherwise, against the Lessee or any other person, entity, department
       • or agency, including governmental entities, departments or agencies.

                2.      Clients agree to pay attorney for professional services 30% of the "Gross
        Recovery" of any and all funds received in settlement without an action having been filed
        in any Court; 33½% of the "Gross Recovery" of any and all funds recovered through
        arbitration, or received in settlement after filIDg an action in any Court but prior to trial;
        35% of the "Gross Recovery" of any and all funds recov·ered through arbitration,
        settlement or judgment once trial begins; or 40% of said sums if said matter is settled or
        resolved upon appeal or following post-verdict proceedings, and said sums payable to
         attorney for professional services are to be a lien upon any sums received in settlement or
         payment of any said claim, or upon any judgment recovered. "Gross Recovery" shall
         mean all of the following:

                a.)     The amount received as compensation for the leased premises or under the
        Lease Agreement for the time period from the date of this Agreement back to the
        effective date of the Lease, which is January 1, 1989. (Back payments.)

                b.)     The increase in lease payments under the Lease Agreement or extended
        ·tenn, from the date hereof and into the future, which are brought about through a
         modification, refonnation, or cancellation of the Lease Agreement or otherwise.

                c.)    All compensation and or damages and fees and costs which the clients
        becom:e entitled to, but which the clients would not be entitled to receive under the
        existing Lease Agreement as modified.




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                                                                                                              Exhibit D
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               d.)      The amount received in a sale of the subject leased premises less the
        amount set forth in the last appraisal of the subject property perfonned by the Bureau of
        Indian Affairs.

               e .)   Judgment or settlement amounts received from any governmental branch
        or agency.

                f.)     The parties understand that an appraisal is now being perfom1ed pursuant
        to the requirements of the Lease Agreement, as modified. In the event the appraised
        value is used for increasing payments due commencing November l, 2002, and
        thereafier, as opposed to the "cost adjustment factor" (which has been historically used
        for any increase in rent) the recovery shall be the increase in those rents based upon
        appraisal.

                3.     Attorney agrees to accept said percentage of the amount received- as·
        aforesaid as full compensation for professional services; and, if there are no sums
        collected or received in the causes of action, attorney agrees to make no charge for
        professional services. Attorney shall, however, be reimbursed by Clients for any and all
        fees, costs, and expenses incurred by Attorney for and on behalf of Clients in the
        representation of Client's claim, cause or causes of action.·

               4.       As the Clients, you are entitled to be infonned on the progress of your
        case. The Attorney will provide reasonable prompt responses to your inquiries. In the
        event a telephone call or request is not promptly answered, please assist us with a repeat
        call. The file and its progress are open to your inspection at any reasonable time.

                 5.     It is the intention of Attorney to represent you within the bounds of the
         law. Every reasonable effort will be made to handle your case promptly and efficiently
         according to the prevailing and legal ethical standards. In handling your case, I perform
         basically two functions: (1) Assisting you in the decision making process by giving legal
         advice, and (2) Implementing the decision that is made by you, the Clients. The ultimate
         decision belongs to you, the Clients. The Attorney shall have the right to employ
         appraisers, experts, and additional counsel both in Alaska and otherwise to aid him in his
         representation. Any additional attorneys employed by the Attorney shall be included in
         the contingency arrangement above set forth.

                 6.     Clients agree to furnish Attorney with all information relevant to this
         matter, to assist and cooperate in negotiations for settlement or in any court action; to
         sign, acknowledge, and verify all necessary papers, documents, pleadings or releases in
         connection with this matter; to be present at all proceedings, when requested, and to
         further produce witnesses; and, to use the Client's best efforts to further the purpose of
         this contingent fee arrangement and Client's claims. In the event of any proposed
         settlement, Clients agree that the affirmative vote and affirmation of more than 75% of
         the Clients' interest in the Lease shall be controlling, and the attorney, and all parties
         dealing with the attorney, shall have the right to rely on this vote or affirmation .


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                                                                                                           Exhibit D
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                   7.     Clients acknowledge that the Lessee can tenninate the Lease Agreement
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          could result in Lessee threatening or taking such action. Because Clients are aware of
          this risk, both with or without Attorney representing them, Clients agree to hold Attorney
          harmless from any claim, demand or damages resulting from Lessee's termination of the
          Lease Agreement.

                  8.      Should it appear to Attorney at any time that Client's claim does not justify
          further action, or should Attorney decide for any reason that the firm cannot represent
          Clients any longer, Attorney may withdraw as Attorney for Clients after notice to Clients.
          In this event, Attorney shall receive only a pro-rata share of any ultimate recovery for
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                  9.     ¥/bile Attorney can make no guarantees of a successful conclusion to your
          case, the Attorney will use his concerted efforts on your behalf. It is also understood that
          the Attorney will not settle, nor compromise this matter without your consent as set forth
          in Paragraph 6 above.

                 DATED AND SIGNED this d--'1 i\ day of October, 2003.




                      Attorney at Law

                    CLIENT:

                ✓    ¼��-�
                    Georgene Shugluk                          _,,,Wallace Oenga


                bcn£?                   -- £                  /Michael Delia


               /Tony Delia                                    ✓   Joseph Delia


               / Andrew Delia                                / Jennie Miller




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                   Attorney at Law

                CLIENT:


                Georgene Shugluk                             ,Wallace Oenga

                                                                17)�·))�
                Leroy Oenga, Sr.                             • Michael Delia


                 Tony Delia                                   Joseph Delia


                 Andrew Delia                                'Jennie Miller




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               GNENS LAW FIRM

               By:�
                  RA ONDC.GNENS
                   Attorney at Law

               CLIENT:


               Georgene Shugluk                              Wallace Oenga



               Leroy Oenga, Sr.                              Michael Delia



                                                             Joseph Delia


               Andrew Delia                                  Jennie Miller




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                  Attorney at Law

               CLIENT:


               Georgene Shugluk                              Wallace Oenga




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               Leroy Oenga, Sr.                              Michaei                 �
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               Tony Delia                                     ophD lia


               Andrew Delia                                  Jennie Miller




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                  DATED AND SIGNED this         1i:.f!_ day of August, 2004.

                  GIVENS LAW FIRM

                  By.�<=
                    RA0NDC.GIVENS
                    Attorney at Law




                                                                 Tony Delia
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                 GIVE�AWFIRM

                 By:
                                                     N-S_____
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                   RA�-'----'.i. ""-o"""
                                     ND
                    Attorney at Law

                 CLIENT:


                 Jennie   U1ier




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